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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.2)
                                  Eastern Division

UL LLC
                              Plaintiff,
v.                                                   Case No.: 1:24−cv−05631
                                                     Honorable Andrea R. Wood
Joshua Callington
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 29, 2025:


        MINUTE entry before the Honorable Andrea R. Wood: At the emailed request of
the parties, the Court enters the following briefing schedule on Defendant's special motion
to strike or dismiss all claims pursuant to Anti−Slapp provisions of Oregon Law, or Rev.
Stat. § 31.150 [31]. Plaintiff shall file a response by 2/6/2025. Defendant shall file a reply
by 2/20/2025. Defendant's motion to strike or dismiss [29] is stricken in light of the
corrected motion [31]. Additionally, Plaintiff's motion to withdraw appearance of Richard
T. Kienzler [33] and uncontested motion of substitution of counsel [34] are granted.
Attorney James M. Witz is substituted as counsel for Plaintiff UL LLC. Attorney Richard
T. Kienzler is terminated as counsel of record. Mailed notice (lma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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